Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 1 of 42 PageID #: 1773




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION

 THE DAILY WIRE, LLC;

 FDRLST MEDIA, LLC; and

 THE STATE OF TEXAS, by and through its                Civil Action No.: 6:23-cv-00609
 Attorney General, Ken Paxton,

              Plaintiffs,                              Plaintiffs’ Notice of Filing
       v.

 DEPARTMENT OF STATE;

 GLOBAL ENGAGEMENT CENTER;

 ANTONY BLINKEN, in his official capacity as
 Secretary of State;

 LEAH BRAY, in her official capacity as Deputy
 Coordinator of the State Department’s Global
 Engagement Center;

 JAMES P. RUBIN, in his official capacity as
 Coordinator for the Global Engagement Center of the
 State Department;

 DANIEL KIMMAGE, in his official capacity as the
 Principal Deputy Coordinator for the Global
 Engagement Center at the State Department;

 ALEXIS FRISBIE, in her official capacity as Senior
 Technical Advisor of the Technology Engagement
 Team for the Global Engagement Center at the State
 Department;

 PATRICIA WATTS, in her official capacity as the
 Director of the Technology Engagement Team at the
 Global Engagement Center at the State Department,

              Defendants.
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 2 of 42 PageID #: 1774




       Pursuant to the Court’s request, Plaintiffs now file herewith the expedited discovery

requests that Plaintiffs seek leave of Court to file on Defendants, namely Requests for Production

of Documents & Other Tangible Items, Interrogatories, and Addendum A, which provides

Definitions and Instructions for the discovery requests. Plaintiffs also file the proposed order which

provides their requested expedited discovery schedule.

 Dated: May 2, 2024                                   Respectfully submitted,

 KEN PAXTON                                           /s/ Margaret A. Little
 Attorney General of Texas                            Margaret A. Little
                                                      Lead Attorney
 BRENT WEBSTER                                        Senior Litigation Counsel
 First Assistant Attorney General of Texas            Connecticut Bar No. 303494
                                                      NEW CIVIL LIBERTIES ALLIANCE
 RALPH MOLINA                                         1225 19th Street NW, Suite 450
 Deputy Attorney General for Legal Strategy           Washington, DC 20036
                                                      Telephone: (202) 869-5210
 RYAN D. WALTERS                                      Facsimile: (202) 869-5238
 Chief, Special Litigation Division
                                                      /s/ Margot J. Cleveland
 /s/ Susanna Dokupil                                  Margot J. Cleveland
 SUSANNA DOKUPIL                                      Of Counsel
 Lead Attorney Special Counsel                        Michigan Bar No. 83564
 Texas Bar No. 24032801                               NEW CIVIL LIBERTIES ALLIANCE
                                                      Margot.Cleveland@ncla.legal
 MUNERA AL-FUHAID
 Special Counsel                                      /s/ Casey Norman
 Texas Bar No. 24094501                               Casey Norman
                                                      Litigation Counsel
 JACOB E. PRZADA                                      New York Bar No. 5772199
 Special Counsel                                      NEW CIVIL LIBERTIES ALLIANCE
 Texas Bar No. 24125371                               Casey.Norman@ncla.legal

 Office of the Attorney General of Texas              Counsel for Plaintiffs The Daily Wire
 P.O. Box 12548 (MC 009)                              Entertainment LLC and FDRLST Media LLC
 Austin, TX 78711-2548
 Phone: (512) 936-3754

 Attorneys for Plaintiff the State of Texas




                                                  1
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 3 of 42 PageID #: 1775




                                 CERTIFICATE OF SERVICE

       I hereby certify that, on May 2, 2024, I caused a true and correct copy of the foregoing

notice to be filed by the Court’s electronic filing system, to be served by operation of the Court’s

electronic filing system on counsel for all parties who have entered in the case.



                                                             /s/ Margot J. Cleveland
                                                                Margot J. Cleveland




                                                 2
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 4 of 42 PageID #: 1776




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION



THE DAILY WIRE, LLC;

FDRLST MEDIA, LLC; and

THE STATE OF TEXAS, by and through its Attorney
                                                Civil Action No.: 6:23-cv-00609
General, Ken Paxton,

             Plaintiffs,
                                                      Plaintiffs’ First Set of Requests
      v.                                              for Production of Documents &
                                                      Other      Tangible    Items   to
DEPARTMENT OF STATE;                                  Defendants

GLOBAL ENGAGEMENT CENTER;

ANTONY BLINKEN, in his official capacity as
Secretary of State;

LEAH BRAY, in her official capacity as Deputy
Coordinator of the State Department’s Global
Engagement Center;

JAMES P. RUBIN, in his official capacity as
Coordinator for the Global Engagement Center of the
State Department;

DANIEL KIMMAGE, in his official capacity as the
Principal Deputy Coordinator for the Global
Engagement Center at the State Department;

ALEXIS FRISBIE, in her official capacity as Senior
Technical Advisor of the Technology Engagement
Team for the Global Engagement Center at the State
Department;




                                         1
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 5 of 42 PageID #: 1777




 PATRICIA WATTS, in her official capacity as the
 Director of the Technology Engagement Team at the
 Global Engagement Center at the State Department,

               Defendants.




       Plaintiffs The Daily Wire, LLC, FDRLST Media, LLC, and the State of Texas, by counsel

and pursuant to Rule 34 of the Federal Rules of Civil Procedure, hereby request that Defendants

Department of State, Global Engagement Center, Antony Blinken, Leah Bray, James P. Rubin,

Daniel Kimmage, Alexis Frisbie, and Patricia Watts produce for inspection to the undersigned

                                              2
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 6 of 42 PageID #: 1778




counsel all documents and electronically stored information requested below within the time

required by order of the Court. ECF          . Definitions and Instructions are contained in an

Addendum to the Discovery Requests. See Addendum A.


                              REQUESTS FOR PRODUCTION

Request for Production No. 1:

Park Advisors & Becera:

         You state that GEC issued a grant to Park Advisors to administer GEC’s “Testbed
initiative and International Tech Challenges,” and that Park Advisors also “launched the now-
retired Disinfo Cloud” platform, “established a weekly newsletter, Disinfo Cloud Digest,” and
“created a Twitter account for Disinfo Cloud.” ECF33 at 10-11. You further state that “GEC’s
use of Disinfo Cloud ended in December 2021, and GEC no longer has access to it” and,
likewise, that “GEC no longer has access to” its Twitter account. Id. at 11. Additionally, You
state that “GEC’s contract with Park Advisors ended, the Testbeds and International Tech
Challenges initiatives continued, first through a subcontract with the consultancy company
Becera, and now directly under GEC.” Id. at 11 n.3.

1.     Provide all Communications, Documents, and Information related to Becera and Park

Advisors’ duties, responsibilities, rights, and any agreements that Defendants entered into with

Becera and Park Advisors, from 2019 to present, including, but not limited to, all draft contracts,

contracts in final form, amendments, Documents reflecting users (whether added or deleted) who

have or had access to or control over platforms, materials, and social media accounts, any

statements of work, including any deliverables, invoices, or payments that can currently be

accessed by or which Defendants retain control over which were originally created with State

Department funds.



Response:



Request for Production No. 2:


                                                3
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 7 of 42 PageID #: 1779




        The Technology Engagement Team states that it “identifies technologies with potential
application in countering propaganda and disinformation (CPD).” 1 The Administrator of Disinfo
Cloud stated that Disinfo Cloud assessed various CPD Tools and Technologies, initially by
completing open-source research to learn about the tool, its manufacturer, and the technology
involved. 2 The team would next summarize the research in a one-to-three-page summary. 3
Disinfo Cloud would subsequently conduct more probing research of these censorship tools and
technologies, contacting the tools’ creators, requesting a remote demonstration, and obtaining
more intricate technical details. 4 Disinfo Cloud would then compile a ten-to-twelve-page report
on the technology. Id. Disinfo Cloud “identified and assessed over 365 tools and technologies.” 5

2.   Provide all Communications, Documents, and Information from 2019 to the present, that can

be currently accessed by, or which Defendants retain control over, which were originally created

with State Department funds that refer to, or relate to CPD Tools and Technologies assessed by,

or on behalf of, the State Department, which, at the time assessed by, or on behalf of, the State

Department, were coded or designed and/or capable of monitoring, impacting, or otherwise

affecting, in whole or part, Americans’ speech or the American press, wherever developed,

published, or disseminated.

Response:



Request for Production No. 3:

Testbed Initiative:

         According to the State Department, one of the Technology Engagement Division’s
programs is its “Tech Testbed,” which the State Department has described as follows: “The GEC
solicits real challenges of the U.S. government (USG) to counter foreign propaganda and
disinformation, and tests specific tools or technologies against a submitted proposal. Tests can
combine existing capabilities or implement novel tech solutions for a rapid assessment of
technologies that are employed against real operational challenges. The tests usually run six to
eight weeks.” 6 You maintain that GEC previously contracted with Park Advisors, and then

1
  https://www.state.gov/technology-engagement-division/technology-solutions/.
2
  Mad Scientist: Weaponized Information Virtual Conference, July 21, 2020, at 15:45, available at 2.09 MadSci
Weaponized Information: Technology Engagement Team & Disinfo Cloud - Ms. Frisbie & Nemr – YouTube,
https://www.youtube.com/watch?v=YoeHq5gX0dA
3
  Id.
4
  Id.
5
  https://www.state.gov/technology-engagement-division/technology-solutions/
6
  https://www.state.gov/programs-technology-engagement-division/.

                                                     4
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 8 of 42 PageID #: 1780




Becera, “to run the testbed initiative, but that GEC now handles that initiative directly.” Id. at 11
n.3. Further, while You characterize the testbed initiative as focused on tools and technology
used to combat foreign disinformation, evidence shows the testbed has tested tools and
technologies that reach Americans’ speech and the American press. ECF11-24 at 3; ECF41-53 at
6; ECF41-35; ECF11-24. Further, evidence suggests that NewsGuard licensed its “nutrition
ratings” and other technology that reaches the American press and Americans to the government.
ECF11-24; ECF11-42, ECF 11-43.

3.         Provide all Communications, Documents, and Information from 2019 to the present that

can be currently accessed by, or which Defendants retain control over, which were originally

created with State Department funds, that refer to, or relate, to the testbed initiative and/or “Tech

Testbed,” 7 including any proposals, tests, criteria, specifications, statement of work, licenses,

agreements, evaluations, results, findings, and assessments, or the like, where at the time tested

by, or on behalf of, the State Department, the tools or technologies were coded or designed and/or

capable of monitoring, impacting, or otherwise affecting, in whole or part, Americans’ speech or

the American press, wherever developed, published, or disseminated.

Response:



Request for Production No. 4:

Counter-Disinfo Resources:

        GEC currently highlights on its .gov webpage several organizations and resources that the
State Department represents as “counter-disinfo resources” that “offer commercial, non-profit,
think tank, and academic technology solutions, dashboards, and research,” including “the Alliance
for Security (sic) Democracy, the Atlantic Council’s Digital Forensic Research Lab, the
CredCatalog, Fighting Disinformation Online, MediaWell, and Misinformation Review.” 8




7 https://www.state.gov/programs-technology-engagement-division/.
8
    https://www.state.gov/resources-technology-engagement-division/.

                                                         5
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 9 of 42 PageID #: 1781




4.      Provide all Communications, Documents, and Information from 2019 to the present

referring or relating to the decision(s) to feature those above-referenced organizations and

resources on the State Department’s webpage.

Response:



Request for Production No. 5:

Tech Challenges Initiative:

           According to the Technology Engagement Team (TET), the GEC conducts “intensive
workshops,” consisting of “one or two-day Tech Challenges.” 9 According to TET, GEC’s “Tech
Challenges are focused primarily on supporting foreign technologists. GEC and its foreign partners
invite foreign-based technologists to demonstrate their capabilities in real time during the Tech
Challenge. At the end of the Tech Challenges, selected promising technologies are awarded grants
. . . .” 10 The GEC also co-sponsored the NSIN Challenge—Countering COVID19 Disinformation
tech challenge. 11 Evidence establishes the technology entered in the Tech and NSIN Challenges
reached Americans’ speech. ECF41-15.

5.      Provide all Documents, Communications, and Information from 2019 to the present that

can be currently accessed by, or which Defendants retain control over, which were originally

created with State Department funds that refer or relate to any tools or technologies evaluated as

part of the Tech, NSIN, or other Challenges, where at the time evaluated, by, or on behalf of, the

State Department the tools or technologies were coded or designed and/or capable of monitoring,

impacting, or otherwise affecting, in whole or part, Americans’ speech or the American press,

wherever developed, published, or disseminated.




9
  https://www.state.gov/programs-technology-engagement-division/.
10
    https://www.state.gov/programs-technology-engagement-division/.
11
   https://www.nsin.mil/events/disinfo-challenge/.

                                                       6
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 10 of 42 PageID #: 1782




Response:



Request for Production No. 6:

Private Sector Engagement

        Defendants maintain that “[t]he GEC’s private sector engagement portfolio entails
engagement to facilitate knowledge-sharing between the U.S. government and the tech sector,
academia, and the research community on the topic of foreign information manipulation overseas.”
ECF28-1 at 7. However, evidence indicates that Defendants’ private sector engagement was not
limited to “the topic of foreign information manipulation overseas.” ECF41-55, CISA, Cyber
Summit 2020: Day Four (Defending our Democracy), Combating Misinformation and
Disinformation,            YouTube,              at          3:24:17,          available          at
https://www.youtube.com/watch?v=WDtstiYHRNc; ECF41-48, Declaration of Leah Bray at 8,
¶18, Exhibit, Missouri v. Biden, No. 22-cv-01213, ECF266-6, Apr. 27, 2023; ECF41-49 at 3
(exhibit in Missouri v. Biden, No. 22-cv-01213 showing GEC targeting domestic post); ECF41-25
at 8-10 Mad Scientist: Weaponized Information Virtual Conference, July 21, 2020, at 33:58, 34:10,
2.09 MadSci Weaponized Information: Technology Engagement Team & Disinfo Cloud – Ms.
Frisbie & Nemr – YouTube, available at https://www.youtube.com/watch?v=YoeHq5gX0dA
(explaining GEC “is regularly looking to engage with, you know, private industry and looking to
have conversations to ensure that there is discussion occurring so I think that, you know, those are
in terms of interaction that’s talking about at a domestic level”).

6.   Provide all Communications, Documents, and Information that GEC or TET, or any Person

acting on behalf of GEC or TET, sent to, received from, copied to, or exchanged with individuals

in Academia, the Private Sector, and Tech Vendors, or Technology Platforms, from December

2019 to the Present, that can currently be accessed by, or which Defendants retain control over,

and were originally created with State Department funds, that refer or relate to MDM, CPD Tools

or Technology, Content Modulation, or Media Literacy, when at the time of the creation of the

Communication, Document, and Information, the coding and/or testing specifications for the tools

or technologies discussed did reach or could reach Americans’ speech or the American press,

wherever developed, published, or disseminated.




Response:

                                                 7
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 11 of 42 PageID #: 1783




Request for Production Nos. 7-8:

Awards

        The State Department awarded a $30,000 grant to Media Literacy Now, Inc., a
Massachusetts-based corporation “devoted to advancing media literacy in the United States.”12
The grant award represented that the funds were to “advance the quality of media literacy
education in Germany.” ECF 41-17, Media Literacy Now Grant Summary, USASpending at 3
(describing purpose of grant). However, still-available recordings of the State-Department-funded
seminars and the Final Report establish the grant was used to train American teachers on tools and
technologies that target Americans’ speech, including Ad Fontes’s “Media Bias Chart” and
NewsGuard. ECF41-16, Final Report, Medialogue on Propaganda, in passim (summarizing
participation of American teachers). Videos and Slides, Medialogue on Propaganda, available at
https://www.medialogues.de/videos (videos of State-Department-funded training sessions for
American teachers).

7. For any award(s) You made for all or part of fiscal year 2023 to the present, related to MDM,

Content Modulation, or Media Literacy, provide all Communications, Documents, and

Information, including but not limited to applications, awards, assessments, statements of work,

evaluations, deliverables, or reports.

Response:




8.      For any award(s) You made from 2019 to all or part of 2022, related to MDM, Content

Modulation, or Media Literacy, where materials developed as part of that award remain publicly

available, or that can be currently accessed by, or which Defendants retain control over, which

were originally created with State Department funds, provide all Communications, Documents,

and Information, including but not limited to applications, awards, assessments, statements of

work, evaluations, deliverables, and reports.



12
  ECF41-16, Final Report, Medialogue on Propaganda at 29 (detailing use of grant to Media Literacy Now which
describes that entity as a non-profit seeking to advance “media literacy in the United States”).

                                                     8
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 12 of 42 PageID #: 1784




Response:



Request for Production No. 9:

Tech-Driven Operations:

       The State Department asserts that one of its programs is “Tech-Driven Operations,” but the
State Department’s website’s description of that program merely states: “Information available
upon request.” 13

9.   Provide all Communications, Documents, or Information referring to or related to the Tech-

Driven Operations, including, but not limited to, the “information” available and to be provided

upon request.

Response:



Request for Production No. 10:

10. Provide all Communications, Documents, and Information from 2019 to the present that were

sent to, submitted to, copied to, received from, exchanged with, or gathered by or for, GEC or

TET, or Persons acting on behalf of GEC or TEC, which contain any of the Search Terms.

Response:



Request for Production No. 11:

A GEC response to a Freedom of Information Act request referenced an internal document titled,
“2023.02.14 GEC-GDI-BLACKLIST.docx.” 14




13
  https://www.state.gov/programs-technology-engagement-division/
14
   Gabe Kaminsky, Biden Administration in Hot Seat for Sending Congress ‘Incomplete’ Records for Censorship
Investigation,   available   at   https://www.washingtonexaminer.com/news/2789357/biden-administration-gop-
incomplete-records-censorship-investigation/.

                                                    9
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 13 of 42 PageID #: 1785




11.     Provide a copy          of   the GEC        internal    file named       “2023.02.14      GEC-GDI-

BLACKLIST.docx,” any drafts of this Document, and any Documents or Communications related

to the creation or editing of this Document, including the metadata.



Response:



Request for Production No. 12:

         GEC stated that it developed a research agenda in Spring 2022, 15 based on research
priorities that included assessing: “How can governments and civil society build resilience to
disinformation by (re)building trust in democratic institutions (government, media, public health,
etc.)? How can civil society build resilience to disinformation through a whole of society
approach?” The GEC further stated that “U.S. representatives” to GEC’s working group, “also
identified the following research priorities: How can governments and civil society work most
effectively with technology companies to counter disinformation? How can governments and
civil society raise the cost on disinformation disseminators? How can governments and civil
society work most effectively with media companies to counter disinformation? How can
governments use improved governance-related solutions to counter disinformation?”


12.    Provide all Communications, Documents, and Information related to the above research

agenda, including its development, the involvement the U.S. representatives to the working group,

and discussion of how this research agenda applies or relates to the United States or to Americans’

speech or the American press, wherever developed, published, or disseminated.




Response:




15
      INTERNATIONAL         COUNTER-DISINFORMATION               RESEARCH        AGENDA,        available   at
https://www.state.gov/wp-content/uploads/2023/07/International-Counter-Disinformation-Research-Agenda-
508.pdf.

                                                     10
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 14 of 42 PageID #: 1786




Request for Production No. 13:

13. Provide all Communications, Documents, and Information from 2019 to the present, that can

be currently accessed by, or which Defendants retain control over, which were originally created

with State Department funds and that refer or relate to Americans’ speech and MDM, CPD Tools

or Technology, Content Modulation, or Media Literacy that GEC or TET, or persons acting on

GEC or TET’s behalf, sent to, submitted to, copied to, received from, exchanged with, or gathered

by or for foreign partners.

Response:



Request for Production No. 14:

14.   Provide all Communications, Documents, and Information that GEC or TET, or Persons

acting on GEC or TET’s behalf, provided its interagency partners from 2019 to the present, that

can be currently accessed by, or which Defendants retain control over, which were originally

created with State Department funds and that refer or relate to Americans’ speech, or CPD Tools

or Technology, Content Modulation, or Media Literacy when, at the time of the communication,

the coding and/or testing specifications of the CPD Tools or Technology, Content Modulation, or

Media Literacy initiative reached or could reach Americans’ speech or the American press,

wherever developed, published, or disseminated.




 Dated: May 2, 2024                               Respectfully submitted,

 KEN PAXTON                                       /s/ Margaret A. Little
 Attorney General of Texas                        Margaret A. Little
                                                  Lead Attorney
 BRENT WEBSTER

                                               11
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 15 of 42 PageID #: 1787




 First Assistant Attorney General of Texas     Senior Litigation Counsel
                                               Connecticut Bar No. 303494
 RALPH MOLINA                                  NEW CIVIL LIBERTIES ALLIANCE
 Deputy Attorney General for Legal Strategy    1225 19th Street NW, Suite 450
                                               Washington, DC 20036
 RYAN D. WALTERS                               Telephone: (202) 869-5210
 Chief, Special Litigation Division
                                               Facsimile: (202) 869-5238
 /s/ Susanna Dokupil
 SUSANNA DOKUPIL                               /s/ Margot J. Cleveland
 Lead Attorney Special Counsel                 Margot J. Cleveland
 Texas Bar No. 24032801                        Of Counsel
                                               Michigan Bar No. 83564
 MUNERA AL-FUHAID                              NEW CIVIL LIBERTIES ALLIANCE
 Special Counsel                               Margot.Cleveland@ncla.legal
 Texas Bar No. 24094501
                                               /s/ Casey Norman
 JACOB E. PRZADA
                                               Casey Norman
 Special Counsel
 Texas Bar No. 24125371                        Litigation Counsel
                                               New York Bar No. 5772199
 Office of the Attorney General of Texas       NEW CIVIL LIBERTIES ALLIANCE
 P.O. Box 12548 (MC 009)                       Casey.Norman@ncla.legal
 Austin, TX 78711-2548
 Phone: (512) 936-3754

                                               Counsel for Plaintiffs The Daily Wire
 Attorneys for Plaintiff the State of Texas    Entertainment LLC and FDRLST Media LLC




                                              12
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 16 of 42 PageID #: 1788




                                CERTIFICATE OF SERVICE

       I hereby certify that on May 2, 2024, I electronically filed the foregoing Plaintiffs’ First

Set of Requests for Production of Documents & Tangible Things to Defendants with the Clerk of

the Court using the CM/ECF system, which sent notification of such filing to all counsel of record.



                                                                           /s/ Margot J. Cleveland
                                                                               Margot J. Cleveland




                                                13
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 17 of 42 PageID #: 1789




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION


 THE DAILY WIRE, LLC;

 FDRLST MEDIA, LLC; and

 THE STATE OF TEXAS, by and through its Attorney
 General, Ken Paxton,

              Plaintiffs,
                                                       Civil Action No.: 6:23-cv-00609
       v.

 DEPARTMENT OF STATE;

 GLOBAL ENGAGEMENT CENTER;                   PLAINTIFFS’ FIRST SET OF
                                             INTERROGATORIES TO
 ANTONY BLINKEN, in his official capacity as DEFENDANT
 Secretary of State;

 LEAH BRAY, in her official capacity as Deputy
 Coordinator of the State Department’s Global
 Engagement Center;

 JAMES P. RUBIN, in his official capacity as
 Coordinator for the Global Engagement Center of the
 State Department;

 DANIEL KIMMAGE, in his official capacity as the
 Principal Deputy Coordinator for the Global
 Engagement Center at the State Department;

 ALEXIS FRISBIE, in her official capacity as Senior
 Technical Advisor of the Technology Engagement
 Team for the Global Engagement Center at the State
 Department;

 PATRICIA WATTS, in her official capacity as the
 Director of the Technology Engagement Team at the
 Global Engagement Center at the State Department,

       Defendants.




                                          1
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 18 of 42 PageID #: 1790




       Plaintiffs Daily Wire, LLC, FDRLST Media, LLC, and State of Texas, through counsel

and pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, submit the following

interrogatories to be answered by Defendants, as ordered by the Court. ECF          .   Definitions

and Instructions are contained in an Addendum to the Discovery and Interrogatory Requests. See

Addendum A.

                            FIRST SET OF INTERROGATORIES

Interrogatory 1

       Identify any CPD Tool or Technology that GEC or TET, or Persons acting on behalf of

GEC or TET, discussed with federal agencies or State Governments since 2019, where at the time

discussed, the CPD Tool or Technology was coded or designed and/or capable of monitoring,

impacting, or otherwise affecting, in whole or part, Americans’ Speech or the American press,

wherever developed, published, or disseminated. If you maintain that the conduct or initiative is

no longer taking place, state when the program ended and the factual basis for your claim that it is

no longer affecting American speech or the American press.

Response:

Interrogatory 2

       Identify any CPD Tool or Technology that GEC or TET, or Persons acting on behalf of

GEC or TET, have discussed with Academia, the Private Sector, Tech Vendors, or Technology

Platforms, from 2019 to the present, where, at the time discussed, the CPD Tool or Technology

was coded or designed and/or capable of monitoring, impacting, or otherwise affecting, in whole

or in part, Americans’ Speech or the American press, wherever developed, published, or

disseminated. If you maintain that the conduct or initiative is no longer taking place, state when




                                                 1
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 19 of 42 PageID #: 1791




the program ended and the factual basis for your claim that it is no longer affecting American

speech or the American press.



Response:

Interrogatory 3

       Identify any CPD Tool or Technology that GEC or TET, or Persons acting on behalf of

GEC or TET, have discussed with foreign partners from 2019 to the present, where at the time

discussed, the CPD Tool or Technology was coded or designed and/or capable of monitoring,

impacting, or otherwise affecting, in whole or part, Americans’ Speech or the American press,

wherever developed, published, or disseminated. If you maintain that the conduct or initiative is

no longer taking place, state when the program ended and the factual basis for your claim that it is

no longer affecting American speech or the American press.




Response:



Interrogatory 4

       Identify any tools, technologies, data, platforms, or other material that Park Advisors or

Becera prepared for Defendants, which can currently be accessed by Defendants or which they

retain control over. If you maintain that the conduct or initiative is no longer taking place, state

when the program ended and the factual basis for your claim that it is no longer affecting American

speech or the American press.



Response:


                                                 2
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 20 of 42 PageID #: 1792




Interrogatory 5

       Identify any CPD Tool or Technology maintained or referenced on the Tech Testbed,

which are currently coded or designed and/or capable of monitoring, impacting, or otherwise

affecting, in whole or part, Americans’ Speech or the American press, wherever developed,

published, or disseminated. If you maintain that the conduct or initiative is no longer taking place,

state when the program ended and the factual basis for your claim that it is no longer affecting

American speech or the American press.




Response:



Interrogatory 6

       Identify any licenses granted, or data provided, to Defendants, that can currently be

accessed by, or which Defendants retain control over, originally obtained with State Department

funds, which provide Defendants, federal agencies, State Governments, or foreign partners the

ability to monitor, review, track, flag, or otherwise assess or affect, in whole or part, Americans’

Speech or the American press, wherever developed, published, or disseminated. If you maintain

that the conduct or initiative is no longer taking place, state when the program ended and the factual

basis for your claim that it is no longer affecting American speech or the American press.




                                                  3
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 21 of 42 PageID #: 1793




Response:

Interrogatory 7

         Identify any Awards made by Defendants from 2019 to present that were used in

connection with MDM, CPD Tools or Technology, Content Modulation, or Media Literacy that

involved, discussed, or affected, in whole or part, Americans’ Speech or the American press,

wherever developed, published, or disseminated, where the subject matter of the Awards can

currently be accessed by Defendants or which they retain control over. If you maintain that the

conduct or initiative is no longer taking place, state when the program ended and the factual basis

for your claim that it is no longer affecting American speech or the American press.




Context for Interrogatory 8

         The State Department stated on its web page: “All good things must come to an end: with
the start of the new year, the GEC’s Disinfo Cloud platform and the Disinfo Cloud Digest have been
retired as GEC-sponsored efforts. However, the GEC’s work to elevate technology solutions to
disinformation challenges continues with new projects designed to adapt to the current environment.
Stay tuned for more information on the next iteration of this program!”1

Interrogatory 8

         Identify what project or projects have replaced, or will replace, the Disinfo Cloud platform,

Disinfo Cloud Digest, and the Tech Testbed, along with any individuals or entities involved in the

“next iteration” of the Disinfo Cloud platform, Disinfo Cloud Digest, and the Tech Testbed, and/or

“the new projects designed to adapt to the current environment,” or with whom you have

communicated about the next iteration of Disinfo Cloud or the aforementioned new projects. If



1
    https://www.state.gov/defeat-disinfo/


                                                  4
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 22 of 42 PageID #: 1794




you maintain that the conduct or initiative is no longer taking place, state when the program ended

and the factual basis for your claim that it is no longer affecting American speech or the American

press.




Response:




 Dated: May 1, 2024                                 Respectfully submitted,

 KEN PAXTON                                         /s/ Margaret A. Little
 Attorney General of Texas                          Margaret A. Little
                                                    Lead Attorney
 BRENT WEBSTER
                                                    Senior Litigation Counsel
 First Assistant Attorney General of Texas
                                                    Connecticut Bar No. 303494
                                                    NEW CIVIL LIBERTIES ALLIANCE
 RALPH MOLINA
 Deputy Attorney General for Legal Strategy         1225 19th Street NW, Suite 450
                                                    Washington, DC 20036
 RYAN D. WALTERS                                    Telephone: (202) 869-5210
 Chief, Special Litigation Division                 Facsimile: (202) 869-5238


                                                    /s/ Margot J. Cleveland
 /s/ Susanna Dokupil                                Margot J. Cleveland
 SUSANNA DOKUPIL
                                                    Of Counsel
 Lead Attorney Special Counsel
 Texas Bar No. 24032801                             Michigan Bar No. 83564
                                                    NEW CIVIL LIBERTIES ALLIANCE
 MUNERA AL-FUHAID                                   Margot.Cleveland@ncla.legal
 Special Counsel
 Texas Bar No. 24094501                             /s/ Casey Norman
                                                    Casey Norman
 JACOB E. PRZADA                                    Litigation Counsel
 Special Counsel                                    New York Bar No. 5772199
 Texas Bar No. 24125371
                                                    NEW CIVIL LIBERTIES ALLIANCE



                                                5
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 23 of 42 PageID #: 1795




 Office of the Attorney General of Texas          Casey.Norman@ncla.legal
 P.O. Box 12548 (MC 009)
 Austin, TX 78711-2548
 Phone: (512) 936-3754
                                                  Counsel for Plaintiffs The Daily Wire
 Attorneys for Plaintiff the State of Texas       Entertainment LLC and FDRLST Media LLC




                                              6
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 24 of 42 PageID #: 1796




                                  CERTIFICATE OF SERVICE

       I hereby certify that on May 2, 2024, I electronically filed the foregoing Plaintiffs’ First

Set of Interrogatories with the Clerk of the Court using the CM/ECF system, which sent

notification of such filing to all counsel of record.


                                                                           /s/ Margot J. Cleveland
                                                                               Margot J. Cleveland




                                                   7
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 25 of 42 PageID #: 1797




            ADDENDUM A
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 26 of 42 PageID #: 1798




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION


 THE DAILY WIRE, LLC;

 FDRLST MEDIA, LLC; and

 THE STATE OF TEXAS, by and through its Attorney
 General, Ken Paxton,

              Plaintiffs,                              Civil Action No.: 6:23-cv-00609

       v.

 DEPARTMENT OF STATE;
                                               Definitions and Instructions for
 GLOBAL ENGAGEMENT CENTER;                     Plaintiffs’ First Set of Requests
                                               for Production of Documents &
 ANTONY BLINKEN, in his official capacity as Other        Tangible    Items   to
 Secretary of State;                           Defendants and Plaintiffs’ First
                                               Set    of    Interrogatories   to
 LEAH BRAY, in her official capacity as Deputy Defendants
 Coordinator of the State Department’s Global
 Engagement Center;

 JAMES P. RUBIN, in his official capacity as
 Coordinator for the Global Engagement Center of the
 State Department;

 DANIEL KIMMAGE, in his official capacity as the
 Principal Deputy Coordinator for the Global
 Engagement Center at the State Department;

 ALEXIS FRISBIE, in her official capacity as Senior
 Technical Advisor of the Technology Engagement
 Team for the Global Engagement Center at the State
 Department;

 PATRICIA WATTS, in her official capacity as the
 Director of the Technology Engagement Team at the
 Global Engagement Center at the State Department,

              Defendants.
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 27 of 42 PageID #: 1799




                                                  DEFINITIONS

A.         “Academia, the Private Sector, or Tech Vendors” has the meaning given that phrase by

Defendants in identifying users of Disinfo Cloud and Testbed. 1

B.         “And,” “or,” and “and/or” and any other conjunctions or disjunctions used herein shall

be read both conjunctively and disjunctively so as to require the production of all Communications,

Documents, and/or Information responsive to all or any part of each particular request.

C.         “Any,” “each,” “every,” and “all” shall be read to be inclusive and to require the

production of each and every Document and/or Communication (hereinafter defined) responsive

to the particular request.

D.         “Award” means any monetary or in-kind transfer directly or indirectly, in whole or in part,

from the Defendants, or another Person (as defined below at “T”) acting on their behalf, whether

referred to as an award, grant, contract, prize, or otherwise.

E.         “Content Modulation” means any action taken by any Technology Platform to limit,

restrict, constrict, or eliminate the distribution of speech or content, regardless of form, deemed to

be MDM (as defined below at “S”), or to sanction a speaker or author for speech or content deemed

to be MDM. “Content Modulation” includes any form of restriction on access to, censorship,

suppression, or modulation of speakers, authors, viewpoints, speech, and/or content by any

Technology Platform (as defined below at “Z”), including any reference to or discussion of any

speech or content considered to be MDM, or any speaker considered by the Technology Platform,

Defendants, or a State Government to be a purveyor of MDM. “Content Modulation” includes any

form of blocking, deterring, deleting, suspending, suppressing, reducing the exposure of, and/or

restricting or limiting access to, any speech, content, author, or speaker on Technology Platforms,



1
    https://2017-2021.state.gov/disinfo-cloud-launch/.

                                                         1
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 28 of 42 PageID #: 1800




including, but not limited to: termination of account(s) or channel(s), permanent or temporary

suspension of account(s) or channel(s), removal of content or posting(s), issuing strike(s) or

warning(s) against account(s) or speaker(s), suppression of content, de-boosting, de-emphasizing,

de-monetizing, deindexing, downlisting, downranking, shadow-banning, limiting number(s) of

followers or subscribers, affixing advisory label(s) or warning label(s) to content, preventing the

amplification of content, requiring additional click(s) to access content, and/or reducing,

constricting, or restricting the distribution of content in any way. “Content Modulation” also

includes, but is not limited to, the use or adjustment of algorithm(s) to achieve any of the foregoing.

F.         “Communications” means any oral, written, or electronic dialogue between two or more

Persons, including but not limited to letters, notes, emails, voicemail messages, faxes, instant

messages, direct messages, private messages, encrypted messages, and SMS text messages, as well

as all letters, memoranda, telegrams, cables, notes, and other writings or Documents reflecting

those Communications. Communications to any Person include, without limitation, emails and

memoranda in which such Person’s name or email address is in the “to,” “cc,” or “bcc” field.

G.         “Content” means any material, including but not limited to posts, messages, videos,

photographs, and audio files, publicly or privately posted or sent to another user or users by any

user on Technology Platforms.

H.         “Countering Propaganda and Disinformation Tools or Technologies,” “CPD Tools or

Technologies,” or a “CPD Tool or Technology” has the meaning given that phrase by

Defendants. CPD Tools or Technologies include all tools or technologies with potential application

in countering MDM, 2 as well as any method, algorithm, approach, platform, application, software,

program, tool, or technology that can be used to counter, rebut, silence, suppress, or otherwise



2
    https://www.state.gov/upcoming-events-technology-engagement-division/.

                                                        2
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 29 of 42 PageID #: 1801




limit the reach or monetization of speech or publications in any form, including but not limited to

tools previously branded by Defendants as CPD Tools or Technologies: Social Listening Tools,

AdTech Tools, Natural Language Processing, Manipulated Information Assessment Tools, Dark

Web Monitoring Tools, Blockchain-Based Media Authentication Tools, Fact-Checking Tools,

Gamified Education Tools, Internet Freedom Tools, Crowd-Sourced Content Assessments and

Web Annotation Tools, Blacklists, and Whitelists. 3

I.         “Defendants,” “You,” or “Your” means the Department of State; Global Engagement

Center; Antony Blinken, in his official capacity as Secretary of State; Leah Bray, in her official

capacity as Deputy Coordinator of the State Department’s Global Engagement Center; James P.

Rubin, in his official capacity as Coordinator for the Global Engagement Center of the State

Department; Daniel Kimmage, in his official capacity as the Principal Deputy Coordinator for the

Global Engagement Center at the State Department; Alexis Frisbie, in her official capacity as the

Senior Technical Advisor of the Technology Engagement Team for the Global Engagement Center

at the State Department; and Patricia Watts, in her official capacity as the Director of the

Technology Engagement Team at the Global Engagement Center at the State Department.

J.         “Department of State” or “State Department” means the United States Department of

State and any Person or Persons working on its behalf, including, but not limited to, the Secretary,

employees, consultants, contractors, detailees, fellows, or interns, whether they are paid or unpaid

by the Department individually, collectively, or in any combination.

K.         “Document” means without limitation, any written, recorded, graphic, or other material,

however produced or reproduced, whether or not claimed to be privileged against discovery on

any grounds, including, but not limited to, material in the form of reports, statements, records



3
    https://www.state.gov/technology-engagement-division/technology-solutions/.

                                                         3
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 30 of 42 PageID #: 1802




(including any workflow software record), agreements, lists, memoranda, correspondence, sound

and/or video recordings (or transcripts of recordings), appointment calendars, appointment

invitations and responses, worksheets, emails, computer files, including the metadata of the file,

or any other documents or Communications of any kind whatsoever, irrespective of form,

including any and all metadata. All attachments or enclosures to a Document are deemed to be part

of such Document.

L.     “Global Engagement Center” or “GEC” means the interagency center housed within

and funded by Department of State.

M.     “Identify” requires identification of (a) natural Persons by name, title, present business or

governmental affiliation, present business or governmental address, telephone number, and email

address or, if a present business or governmental address is not known, the last known business or

governmental or home addresses; and (b) businesses, governmental, or other organizations by

name, address, and the identities of your contact Persons at the business or governmental or other

organization.

N.     “Including” means including, but not limited to.

O.     “Information” means data, documents, communications, writings, drawings, graphs,

charts, photographs, sound recordings, images, records generated by individuals or machines, or

the compilation of any of the foregoing stored in any medium, including electronically stored

information.

P.     “Interagency” has the meaning given that phrase by Defendants in identifying users of

Disinfo Cloud and Testbed, including, but not limited to, “[t]he Census Bureau, U.S. Congress,

Department of Defense, Department of Energy, Department of Homeland Security, Department of

State, Federal Bureau of Investigation, Office of Global Affairs, Office of the Director of National



                                                 4
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 31 of 42 PageID #: 1803




Intelligence, Department of the Treasury, U.S. Agency for Global Media, and the Department of

Agriculture.” 4

Q.        “Media Literacy” means the ability to access, analyze, and evaluate the media.

R.        “Meeting” includes gatherings conducted in Person, by telephone, or virtually.

S.        “MDM,” which stands for Misinformation, Disinformation, and Malinformation, means,

no matter what it is called, any form of speech, expression, writing, or other communication or

content considered to be potentially or actually incorrect, mistaken, false, misleading, lacking

proper context, disfavored, having the tendency to deceive or mislead, or otherwise objectionable

on similar grounds, including, but not limited to, any content or speech considered by any federal

official or employee to be: “misinformation” or the inadvertent sharing of false information that is

not intended to cause harm; “disinformation,” or the purposeful dissemination of information that

may be true, but is intended to mislead, harm, or manipulate; “malinformation,” or information

based on fact which seeks to mislead, harm, or manipulate, or “propaganda,” or any

communication or expression intends to, prevail upon, indoctrinate, convert, induce or in any other

way influences another individual.

T.        “Person” means a natural Person, an organization, or other legal entity, including a federal

government agency or entity, state government entity, county government entity, municipal

government entity, tribal government entity, corporation, partnership, sole proprietorship, limited

liability company, association, cooperative, or any group or combination acting as an entity.

U.        “Plaintiffs” refers to the plaintiffs in this action: The Daily Wire, LLC, FDRLST Media,

LLC, and the State of Texas. “Media Plaintiffs” refer to the Daily Wire and FDRLST Media.




4
    https://2017-2021.state.gov/disinfo-cloud-launch/

                                                        5
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 32 of 42 PageID #: 1804




V.     “Relates to,” “relating to,” “refers to,” or “referring to” means involving, discussing,

identifying, referring to, concerning or in any way touching upon the matter sought.

W.     “Search Terms” mean the following terms, deemed to be case-neutral and thus inclusive

of both uppercase and lowercase letters, and deemed so that singular includes plural and vice versa:

“Ad Fontes” “Albany Associates” “Alliance for Securing Democracy” “Amy Westfeldt” “Andrew

Klavan” “ASD” “Becera” “Ben Domenech” “Ben Shapiro” “Bentkey” “biolabs” “Brett Cooper”

“Brian Murphy” “Brill” “Candace Owens” “COVID” “CPD” “CredCatalog” “Crovitz” “Daily

Wire” “Denise DiStephan” “DFRL” “Digital Forensic Research Lab” “disinfo” “Disinfo Cloud”

“disinformation” “Disinformation Index” “DW” “DW+” “FDRLST” “Federalist” “Fighting

Disinformation Online” “Frisbie” “Full Fact” “GARM” “GDI” “GEC” “Global Alliance for

Responsible Media” “Global Disinformation Index” “Global Engagement Center” “IFCN”

“International Fact-Checking Network” “Jack Brewster” “Jain” “Jeremy Boreing” “John Gregory”

“Jordan Peterson” “Journalism Trust Initiative” “JTI” “Kevin Gross” “Lead Stories” “Logically”

“Logically.AI” “Lyric” “malinfo” “malinformation” “Matt Walsh” “MDM” “Media Literacy”

“MediaWell”     “MediaWise”     “Media Wire”         “Melford”   “Michael    Knowles”    “misinfo”

“misinformation” “Misinformation Review” “Mollie Hemingway” “Mollie Hemmingway”

“Molly Hemingway” “Molly Hemmingway” “Moonshot” “National Democratic Institute” “NDI”

“Nemr” “NewsGuard” “Omelas” “Ondrak” “Park Advisors” “Park Capital” “Peak Metrics”

“Politifact” “Public Editor” “Sean Davis” “Skibinski” “Stewart” “TCM” “TE” “Technology

Engagement” “TED” “Testbed” “TET” “The Critical Mass” “The Daily Wire” “The Federalist”

“ThunderCat” “Valerie Pavilonis” “WFA” “What is a Woman” “World Federation of Advertisers”

“Zack Fishman” “@FDRLST” “@RealDailyWire”.




                                                 6
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 33 of 42 PageID #: 1805




X.         “Speech” means any communication in any form, including, but not limited to,

communication expressed orally, in writing, or visually.

Y.         “State Government” means any branch of the State government, including any agency,

instrumentality, or political subdivision of a State, including, but not limited to, any officers,

department, division, bureau, board, or commission.

Z.         “Technology Platforms” means any organization that provides a service for public users

to disseminate or receive speech, expression, information, or other content (typically content that

includes messages, videos, photographs, and/or sound files). “Technology Platforms” include both

the organizations and any of their officers, agents, employees, contractors, or any other Person

employed by or acting on behalf of the Technology Platforms, as well subcontractors or entities

used to conduct fact-checking or any other activities relating to Content Modulation. “Technology

Platforms” include but are not limited to: Alphabet (Google and YouTube), Meta (Facebook,

Facebook Messenger, Threads, and Instagram), X (f/k/a Twitter), Snapchat, Tik Tok, NextDoor,

LinkedIn, Reddit, WeChat, Weibo, Wikipedia, and Pinterest.

AA.        “Tech Challenge” means any workshops convened by GEC to understand, assess, and find

ways to implement effective tech solutions to MDM. 5

BB.        “Tech Testbed” means any program Defendants run to test specific tools or technologies

against a submitted proposal to determine existing capabilities or implement novel tech solutions

for a rapid assessment of technologies, whether the program was run as part of the Disinfo Cloud

testbed or another platform. 6




5
    https://www.state.gov/programs-technology-engagement-division/.
6
    Id.

                                                        7
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 34 of 42 PageID #: 1806




CC.       “Tech-Driven Operation” will be used according to the meaning Defendants gave the

program of the same name. 7

DD.       “Technology Engagement Division” and “Technology Engagement Team” means the

division of the same name within Global Engagement Center, whether referred to as the

Technology Engagement Division, TED, the Technology Engagement Team, TET, or TE. This

definition includes any Person or Persons working on behalf of any of those divisions, including,

but not limited to, employees, consultants, contractors, detailees, interns, or fellows, whether they

are paid or unpaid by the Department individually, collectively, or in any combination. This

includes, but is not limited to, Alexis Frisbie, in her official capacity as the Senior Technical

Advisor of the Technology Engagement Team for the Global Engagement Center at the State

Department; Patricia Watts, in her official capacity as the Director of the Technology Engagement

Team at the Global Engagement Center at the State Department.

                   INSTRUCTIONS FOR REQUEST FOR PRODUCTION

A.        Applicable Time Period: Unless otherwise specified, the time period covered by these

Requests shall not be limited, and You should provide all Communications, Documents, and

Information requested, regardless of dates or time periods involved.

B.        Scope of Search: These Requests cover Communications, Documents, and Information in

the actual or constructive possession, custody, or control of You, Your attorneys, employees,

consultants, contractors, detailees, interns, or fellows, whether they are paid or unpaid by the State

Department, as well as any entities from which You have access to Communications, Documents,

and Information related to these Requests, and any other Person from whom You can obtain such




7
    Id.

                                                  8
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 35 of 42 PageID #: 1807




Communications, Documents, and Information, by request or from whom You have a right to bring

such Communications, Documents, and Information within Your possession by demand.

C.     Ongoing Duty to Supplement: These Requests are ongoing in nature. Responsive

Documents obtained or discovered after Your initial response and production must be produced

promptly through the completion of this action.

D.     Rules of Construction: Wherever used herein, the singular shall be deemed to include the

plural, and the plural shall be deemed to include the singular; the use of the past, present, or future

tense of any word shall be deemed to include the other tenses; “including” means “including, but

not limited to”; the disjunctive (“or”) shall be deemed to include the conjunctive (“and”), and the

conjunctive shall be deemed to include the disjunctive; each of the functional words “each,”

“every,” “any,” and “all” shall be deemed to include each of the other functional words; “between”

and “among” shall be deemed to include each other; and “referring to” or “relating to” mean

discussing, describing, reflecting, containing, analyzing, studying, reporting, commenting,

evidencing, constituting, setting forth, considering, recommending, concerning, or pertaining to—

in whole or in part.

E.     Objections: If You object to any part of a request, You shall produce Documents and

Communications that are responsive to all parts of such Request to which You do not object.

Furthermore, pursuant to Fed. R. Civ. P. 34(b)(2)(C) and Fed. R. Civ. P. 26(b)(5), You must state

whether any responsive materials are being withheld on the basis of such objection.

F.     Previously Supplied Materials: If You have previously supplied to Plaintiffs any

Communications, Documents, or Information responsive to a Request, You may, in lieu of re-

submitting those materials, identify the materials.




                                                  9
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 36 of 42 PageID #: 1808




G.     Production Requirements: In producing Communications, Documents, and Information

consisting of electronically stored information in response to any document request, provide such

data in a form that does not require specialized or proprietary hardware or software. Organize and

label them to correspond to the categories in the request pursuant to Fed. R. Civ. P. 34(b)(2)(E)(i).

H.     Sensitive Information: If any material called for by these requests contains sensitive,

personally identifiable information or sensitive health information of any individual, please contact

the undersigned counsel before sending those materials to discuss ways to protect such information

during the course of discovery production. For purposes of these requests, sensitive personally

identifiable information includes: an individual’s Social Security number alone; an individual’s

name or address or phone number in combination with one or more of the following: date of birth;

Social Security number; driver’s license number or other state identification number or a foreign

country equivalent; passport number; financial account number; credit card number; or debit card

number. Sensitive health information includes medical records and other individually identifiable

health information relating to the past, present, or future physical or mental health or conditions of

an individual, the provision of health care to an individual, or the past, present, or future payment

for the provision of health care to an individual.

I.     Undefined Terms: To the extent that terms are not defined, please use the term’s everyday

meaning.

                        INSTRUCTIONS FOR INTERROGATORIES

A.     Unless otherwise specified, the time period covered by these Interrogatories shall not be

limited.

B.     Each Interrogatory and part thereof shall be answered separately and completely, without

reference to an answer to any other Interrogatory.


                                                 10
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 37 of 42 PageID #: 1809




C.     If you learn that in some material respect your response to any of the following

Interrogatories is incomplete or incorrect, and the additional or corrective information has not

otherwise been made available to Plaintiff during the discovery process or in writing, then you

must supplement your response as provided in Fed. R. Civ. P. 26(e).

D.     These Interrogatories shall be deemed continuing, and the responses shall be reasonably

amended or supplemented as provided in Fed. R. Civ. P. 26(e).

E.     With respect to information as to which you claim privilege or otherwise object, you must

state the grounds for each objection with specificity, as set forth in Fed. R. Civ. P. 33(b)(4).

Pursuant to Fed. R. Civ. P. 34(b)(2)(c), you must state whether any responsive materials are being

withheld on the basis of your objection.

F.     Where a claim of privilege is asserted in objecting to any of the Interrogatories, identify

the nature of the privilege (including work product) that is being claimed. Provide the following

information in the objection unless divulgence of the information would cause disclosure of the

allegedly privileged information:

       a.      For documents: (1) the type of document (e.g., letter or memorandum); (2) the

       general subject matter of the document; (3) the date of the document; (4) the document’s

       author, addressees, and other recipients; and (5) where not apparent, the relationship of the

       author, addressees, and recipients to one another;

       b.      For oral communications: (1) the name of the Person making the communication

       and the names of Persons present when the communication was made and, where not

       apparent, the relationship of the author, addressees, and recipients to each other; (2) the

       date and place of the communication; and (3) the general subject matter of the

       communication.



                                                11
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 38 of 42 PageID #: 1810




       c.      For claims of deliberative process privilege, an affidavit or declaration: (1)

       establishing that the agency head, or duly appointed delegee, has personally considered the

       Document or Information; (2) identifying and describing the Document(s) or Information

       sought to be protected with particularity; and (3) providing precise and certain reasons for

       maintaining the confidentiality of the Document(s) or information.

G.     In the event that the answer to an Interrogatory is “do not know,” “unknown,” “that

information is unavailable,” or the like, explain in detail the efforts made to obtain information to

answer the Interrogatory.




                                                 12
Case 6:23-cv-00609-JDK Document 50 Filed 05/02/24 Page 39 of 42 PageID #: 1811




 Dated: May 2, 2024                             Respectfully submitted,

 KEN PAXTON                                     /s/ Margaret A. Little
 Attorney General of Texas                      Margaret A. Little
                                                Lead Attorney
 BRENT WEBSTER                                  Senior Litigation Counsel
 First Assistant Attorney General of Texas      Connecticut Bar No. 303494
                                                NEW CIVIL LIBERTIES ALLIANCE
 RALPH MOLINA                                   1225 19th Street NW, Suite 450
 Deputy Attorney General for Legal Strategy     Washington, DC 20036
                                                Telephone: (202) 869-5210
 RYAN D. WALTERS                                Facsimile: (202) 869-5238
 Chief, Special Litigation Division
                                                /s/ Margot J. Cleveland
 /s/ Susanna Dokupil                            Margot J. Cleveland
 SUSANNA DOKUPIL                                Of Counsel
 Lead Attorney Special Counsel                  Michigan Bar No. 83564
 Texas Bar No. 24032801                         NEW CIVIL LIBERTIES ALLIANCE
                                                Margot.Cleveland@ncla.legal
 MUNERA AL-FUHAID
 Special Counsel                                /s/ Casey Norman
 Texas Bar No. 24094501                         Casey Norman
                                                Litigation Counsel
 JACOB E. PRZADA                                New York Bar No. 5772199
 Special Counsel                                NEW CIVIL LIBERTIES ALLIANCE
 Texas Bar No. 24125371                         Casey.Norman@ncla.legal

 Office of the Attorney General of Texas        Counsel for Plaintiffs The Daily Wire
 P.O. Box 12548 (MC 009)                        Entertainment LLC and FDRLST Media LLC
 Austin, TX 78711-2548
 Phone: (512) 936-3754

 Attorneys for Plaintiff the State of Texas



                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 2, 2024, I electronically filed the foregoing Addendum with

the Clerk of the Court using the CM/ECF system, which sent notification of such filing to all

counsel of record.


                                                                          /s/ Margot J. Cleveland
                                                                              Margot J. Cleveland

                                              13
Case
 Case6:23-cv-00609-JDK
      6:23-cv-00609-JDK Document
                         Document50
                                  13-1Filed
                                         Filed
                                            05/02/24
                                               02/07/24Page
                                                         Page
                                                            40 1ofof423 PageID
                                                                        PageID #:
                                                                               #: 1812
                                                                                  604




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION

 THE DAILY WIRE, LLC;

 FDRLST MEDIA, LLC; and

 THE STATE OF TEXAS, by and through its                Civil Action No.: 6:23-cv-00609
 Attorney General, Ken Paxton,

              Plaintiffs,

        v.

 DEPARTMENT OF STATE;

 GLOBAL ENGAGEMENT CENTER;

 ANTONY BLINKEN, in his official capacity as
 Secretary of State;

 LEAH BRAY, in her official capacity as Deputy
 Coordinator of the State Department’s Global
 Engagement Center;

 JAMES P. RUBIN, in his official capacity as
 Coordinator for the Global Engagement Center of the
 State Department;

 DANIEL KIMMAGE, in his official capacity as the
 Principal Deputy Coordinator for the Global
 Engagement Center at the State Department;

 ALEXIS FRISBIE, in her official capacity as Senior
 Technical Advisor of the Technology Engagement
 Team for the Global Engagement Center at the State
 Department;

 PATRICIA WATTS, in her official capacity as the
 Director of the Technology Engagement Team at the
 Global Engagement Center at the State Department,

              Defendants.


                                          1
Case
 Case6:23-cv-00609-JDK
      6:23-cv-00609-JDK Document
                         Document50
                                  13-1Filed
                                         Filed
                                            05/02/24
                                               02/07/24Page
                                                         Page
                                                            41 2ofof423 PageID
                                                                        PageID #:
                                                                               #: 1813
                                                                                  605




                                   [PROPOSED] ORDER

       Before the Court is the motion of Plaintiffs, The Daily Wire, LLC, FDRLST Media, LLC,

and the State of Texas, for Expedited Preliminary-Injunction-Related Discovery.           After

considering the Motion, the Court finds good cause supports Plaintiffs’ request for limited

Preliminary-Injunction-Related Expedited Discovery and therefore the Motion is hereby

GRANTED.

       It is hereby ORDERED that:

       1. Within five business days of this Court’s ruling on this Motion, Plaintiffs may serve

          interrogatories and document requests on Defendants and may serve no more than five

          subpoenas on third parties.

       2. Defendants and third parties shall provide responses and objections within thirty days

          of service.

       3. Within ten days of the receipt of the responses, objections, and the production of

          responsive documents, the parties shall meet and confer in good faith about any

          discovery dispute, after which the parties shall submit a joint statement to the Court

          identifying the nature of any unresolved dispute.

       4. Within ten days of the receipt of the responses, objections, and any responsive

          documents, Plaintiffs shall notify Defendants whether they will seek additional third-

          party subpoenas or depositions pursuant to Rule 30(a)(2) of the Federal Rules of Civil

          Procedure.

       5. Within seven days of receiving notice of the depositions and additional third-party

          subpoenas sought by Plaintiffs, the parties shall meet and confer regarding the

          additional discovery requests. Should the parties reach an impasse, they shall submit

                                               2
Case
 Case6:23-cv-00609-JDK
      6:23-cv-00609-JDK Document
                         Document50
                                  13-1Filed
                                         Filed
                                            05/02/24
                                               02/07/24Page
                                                         Page
                                                            42 3ofof423 PageID
                                                                        PageID #:
                                                                               #: 1814
                                                                                  606




          separate statements to the Court stating their positions on each requested subpoena and

          deposition.

       6. Thereafter, this Court shall determine any outstanding discovery disputes, after which

          Plaintiffs will have ten days to serve any additional third-party subpoenas and thirty

          days to complete any authorized depositions.

       7. Within twenty days after all authorized depositions are taken, Plaintiffs may

          supplement their previous memoranda in support of their Motion for a Preliminary

          Injunction.

       8. Within twenty days after Plaintiffs file their supplemental memorandum, Defendants

          may file a supplemental memorandum in response to the Motion for Preliminary

          Injunction.

       9. Within ten days after Defendants file their supplemental memorandum, Plaintiffs may

          file a reply.




       So ORDERED and SIGNED this_____ day of ___________, 2024.




                                                   JEREMY D. KERNODLE
                                                   UNITED STATES DISTRICT JUDGE




                                               3
